 Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.1 Filed 02/26/21 Page 1 of 17




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


KRISTY KLENKE,                                         Case No.
      Plaintiff,                                       Hon.
vs.
MARIO CUNNINGHAM, KATHY WARNER,
and GREG SKIPPER,
in their individual capacities,


Defendants.
__________________________________________________________________
Hannah R. Fielstra (P82101)
Kevin S. Ernst (P44543)
ERNST CHARARA & LOVELL, PLC
Attorneys for Plaintiff
645 Griswold, Ste. 4100
Detroit, MI 48226
(313) 965-5555 / (313) 965-5556
hannah@ecllawfirm.com
kevin@ecllawfirm.com
__________________________________________________________________


              PLAINTIFF’S COMPLAINT AND JURY DEMAND
      NOW COMES Plaintiff, KRISTY KLENKE, by and through her attorneys,

ERNST CHARARA & LOVELL, PLC, and for her Complaint against Defendants

states as follows:

                       JURISDICTION AND VENUE




                                     1
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.2 Filed 02/26/21 Page 2 of 17




 1. This is a civil rights action in which Plaintiff, KRISTY KLENKE, seeks relief

    and all damages that flow from Defendants’ multiple violations of her rights,

    privileges and immunities as secured by the Fourteenth Amendment to the

    United States Constitution, pursuant to 42 U.S.C. §1983 and the Michigan

    Elliot-Larsen Civil Rights Act.

 2. Jurisdiction of this Court is invoked pursuant to 42 U.S.C. § 1983, and

    jurisdiction is therefore proper pursuant to 28 U.S.C. § 1331.

 3. Venue is proper in this District under 28 U.S.C. § 1391. The parties reside,

    or at the time the events took place, resided in this judicial district, and the

    events giving rise to Plaintiffs’ claims also occurred in this judicial district.

                                    PARTIES
 4. Plaintiff is a 42 year-old woman residing in the County of Ingham, State of

    Michigan, who worked for the Michigan Department of Corrections

    (“MDOC”) at the Michigan Reformatory facility.

 5. Defendant Mario Cunningham was, at all relevant times, a Sergeant for

    Defendant MDOC and was employed as a supervisor at the same facility

    where Plaintiff worked.

 6. Defendant Kathy Warner was, at all relevant times, employed by the Michigan

    Department of Corrections (“MDOC”) and was in charge of the Office of

    Executive Affairs.


                                         2
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.3 Filed 02/26/21 Page 3 of 17




 7. Defendant Greg Skipper was, at all relevant times, employed by the Michigan

    Department of Corrections (“MDOC”) and was the Warden at the Michigan

    Reformatory facility, where Plaintiff and Defendant Cunningham were

    employed.

                                    FACTS
 8. Plaintiff realleges and incorporates by reference the foregoing paragraphs as

    if fully set forth herein.

 9. Plaintiff was employed by Defendant MDOC at the Michigan Reformatory

    facility starting in about February of 2019. At all times relevant herein,

    Plaintiff worked at the Michigan Reformatory facility.

 10. At all relevant times herein, Defendant Cunningham was Plaintiff’s

    supervisor at the Michigan Reformatory facility.

 11. A few months after Ms. Klenke had been employed with the MDOC and was

    working under Defendant Cunningham, Defendant asked her for her phone

    number. Ms. Klenke gave him her phone number and they began

    communicating by phone text message for from approximately April 6, 2019

    through June of 2019.

 12. Around approximately the end of April 2019, Defendant Cunningham and

    Ms. Klenke met outside of work on a few occasions.




                                      3
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.4 Filed 02/26/21 Page 4 of 17




 13. Thereafter, Ms. Klenke learned that Defendant Cunningham was married.

    This information made Ms. Klenke extremely uncomfortable.

 14. Also during that time, Defendant Cunningham told other staff about his

    relationship with Ms. Klenke, called her frequently at work on his days off,

    and frequently vistited Ms. Klenke on her assignments while at work.

 15. Ms. Klenke grew more uncomfortable with Defendant Cunningham’s

    behavior and confronted him around June of 2019. She explained that she

    only wished to have a professional relationship at work and did not want to

    see him personally.

 16. Despite Ms. Klenke telling Defendant that she no longer wished to

    communicate with him, he continued to call and text her. She explained on a

    multitude of occasions via text message that she did not wish to talk to him or

    see him outside of work.

 17. Ms. Klenke eventually stopped responding to Defendant’s text messages, as

    she was uncomfortable with his behavior and they became more frequent.

 18. Around the end of June 2019, Defendant Cunningham sent Ms. Klenke

    flowers at work, unsolicited. Ms. Klenke was embarrassed and extremely

    uncomfortable by this gesture.

 19. Thereafter,   Defendant   Cunningham began        changing    Ms.   Klenke’s

    assignments.    On occasion, he would re-assign her to a more favorable


                                       4
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.5 Filed 02/26/21 Page 5 of 17




    position to show her that a personal relationship with Defendant would be

    beneficial to her.

 20. Defendant Cunningham has a history of sexual harassment and sexual

    harassment complaints made by multiple women employed by the MDOC.

 21. When Defendant Cunningham continued to harass Ms. Klenke after she did

    not return his unwanted advances by phone, text messages, personal and work

    email, and Snapchat. The content of this communication was personal and

    sexual in nature.

 22. On September 20, 2019, Ms. Klenke filed a complaint form for

    discriminatory harassment with the Michigan Department of Corrections.

 23. In March of 2020, Defendant Cunningham allegedly had a disciplinary

    hearing.    After that hearing, despite Ms. Klenke’s complaint being

    substantiated by Internal Affairs Chief Stephen Marschke and Investigator

    Barber, the outcome of the investigation was changed and Ms. Klene’s claims

    were declared “unfounded.”

 24. Upon information and belief, Defendant Warner changed the outcome of Ms.

    Kleke’s complaint and has a pattern and practice of changing results of

    investigations or instructing others to do so on her behalf.

 25. Ms. Klenke did not receive any follow-up or documentation regarding the

    status of her complaint or a decision, and ultimately, Defendant Cunningham


                                        5
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.6 Filed 02/26/21 Page 6 of 17




    was never disciplined so he continued to sexually harass Ms. Klenke in the

    workplace.

 26. Me. Klenke was thus denied her right to a neutral arbiter.

 27. In February of 2020, Defendant Cunningham spoke with Officer Short and

    told him it was difficult to work with Ms. Klenke and he wanted to sit down

    and talk to her. He went into detail about his sexual experiences and told

    Officer Short that he could not “move past” Ms. Klenke.

 28. Ms. Klenke learned of the conversation Defendant Cunningham had with

    Officer Short from Officer Short. She then reported the conversation to the

    investigator working on her prior complaint.

 29. In May of 2020, after Ms. Klenke had to Defendant Cunningham on multiple

    occasions not to contact her, he attempted to add her on Snapchat, a social

    media app used for sending pictures.

 30. In approximately July of 2020, Sergeant Breedlove approached Ms. Klenke

    and informed her that Defendant Cunningham had conversations with him and

    said that “it was not a matter of how [Cunningham and Klenke] got back

    together, but when…” Sgt. Breedlove asked Ms. Klenke if she desired to file

    a formal complaint and she responded that she did.

 31. In approximately July of 2020, Defendant Cunningham was in Ms. Klenke’s

    assigned area for no reason and it was recognized by Sergeant Denison.


                                        6
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.7 Filed 02/26/21 Page 7 of 17




 32. Defendant Cunningham made Ms. Klenke feel increasingly more

    uncomfortable by making efforts to be in her presence at work without reason.

 33. On or about July 8, 2020, Ms. Klenke, who was mandated on the 2-10 shift,

    was informed that she was being reassigned to the 6-2 shift because of the

    prior complaint she filed against Defendant Cunningham. This resulted in a

    reduction in pay from November 2019 until August 23, 2020. Defendant

    Cunningham was not disciplined, did not suffer a pay reduction, and was not

    required to switch shifts.

 34. After Ms. Klenke was reassigned, Warden Greg Skipper called Ms. Klenke

    randomly to reassure her that he had nothing to do with her shift change and

    that it was her union’s fault.

 35. On July 8, 2020, Ms. Klenke filed a second formal complaint against

    Defendant Cunningham for sexual harassment.

 36. The initial investigation against Defendant Cunningham yielded no results

    and Ms. Klenke was put back on the 2-10 shift – the same shift as Defendant

    Cunningham. The Department took no steps to protect Ms. Klenke from

    harassment and Defendant Cunningham was not disciplined.

 37. On August 14, 2020, Ms. Klenke emailed Defendant Warner and expressed

    her concerns with the way in which her prior complaint against Defendant




                                      7
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.8 Filed 02/26/21 Page 8 of 17




    Cunningham was handled and also expressed a fear that her July 2020

    complaint would be handled in the same manner.

 38. In approximately September of 2020, prisoners in I-2 segregation began

    harassing Ms. Klenke regarding the complaints she made against Defendant

    Cunningham – information which most likely came from Defendant

    Cunningham or from someone who had conversations with Defendant

    Cunningham regarding Ms. Klenke. They had knowledge of details of the

    investigation, taunted Ms. Klenke for filing the complaints against a

    supervisor when Defendant Cunningham had a wife and children and caused

    Ms. Klenke to fear for her overall safety.

 39. Because of the immense stress Ms. Klenke was under as a result of the sexual

    harassment by Defendant Cunningham, she was left with no other option than

    to take a stress leave from October 1, 2020 through November 6, 2020 for

    which she was never compensated.

 40. At that time, Ms. Klenke asked Warden Greg Skipper because she feared for

    her safety. He responded that she should contact her union and did nothing

    regarding her request.

 41. Thereafter, Ms. Klenke was retaliated against for filing complaints against

    Defendant Cunningham by being placed in unsafe working conditions,

    including but not limited to: working around prisoners who knew personal


                                       8
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.9 Filed 02/26/21 Page 9 of 17




    information about her, being forced to work without a partner to back her up,

    and being placed on the most undesirable assignments in the facility making

    Ms. Klenke feel unsafe.

 42. In January 2021, Ms. Klenke requested a transfer from the Michigan

    Reformatory facility through human resources.

 43. As a direct and proximate result of Defendants’ wrongful conduct and actions,

    Plaintiff suffered and continues to suffer the following injuries and damages

    including, but not limited to:

     a. wage loss;

    b. loss of contract benefits or expectancy;

    c. loss of goodwill;

    d. harm to reputation;

    e. loss of esteem and standing in the community;

    f. pain and suffering;

    g. mental anguish;

    h. emotional distress;

    i. severe anxiety;

    j. fear and humiliation;

    k. medical treatment;

    l. stigmatization of her reputation;


                                           9
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.10 Filed 02/26/21 Page 10 of 17




     m. punitive damages;

     n. reasonable attorney fees and costs;

     o. other damages to be revealed during the course of discovery and litigation.

                            COUNT I –42 U.S.C. §1983
  VIOLATION OF THE FOURTEENTH AMENDMENT PROCEDURAL
                                  DUE PROCESS
                             As to Defendant Warner
  44. Plaintiff realleges and incorporates by reference the foregoing paragraphs as

     if fully set forth herein.

  45. Ms. Klenke was denied her right to a neutral arbiter when the results of her

     investigation were changed and she was not notified of any decision regarding

     her complaint against Defendant Cunningham.

  46. All actions taken by Defendant were done while acting under the color of law

     and had the effect of depriving Plaintiff of her rights as secured by the

     Constitution and laws of the United States, specifically the Due Process

     Clause of the Fourteenth Amendment to the United States Constitution.

  47. Defendant violated Plaintiff’s 14 th Amendment right to due process – namely

     her opportunity to be heard by a neutral arbiter.

  48. As a direct and proximate result of Defendants’ unlawful actions, Plaintiff has

     sustained and continues to sustain injuries and damages, including costs of

     litigation and attorney fees, pursuant to 42 U.S.C. § 1988.



                                        10
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.11 Filed 02/26/21 Page 11 of 17




  49. Further, Defendants’ egregious conduct was carried out purposefully,

     willfully, knowingly and/or with deliberate indifference to Plaintiff’s

     constitutional rights, entitling Plaintiff to an award of punitive damages.

                   COUNT II –42 U.S.C. §1983
      VIOLATION OF THE FOURTEENTH AMENDMENT EQUAL
                        PROTECTION
                      As to All Defendants

  50. Plaintiff realleges and incorporates by reference the foregoing paragraphs as

     if fully set forth herein.

  51. Plaintiff is a member of a protected class and was unlawfully discriminated

     against because of her sex.

  52. All actions taken by Defendants were done while acting under the color of

     law and had the effect of depriving Plaintiff of her rights as secured by the

     Constitution and laws of the United States, specifically the Equal Protection

     Clause of the Fourteenth Amendment to the United States Constitution.

  53. Defendants’ acts were intentional malicious, willful, wanton, obdurate, and in

     gross and reckless disregard of Plaintiff’s Constitutional rights.

  54. As a direct and proximate result of Defendants’ unlawful actions, Plaintiff has

     sustained and continues to sustain injuries and damages, including costs of

     litigation and attorney fees, pursuant to 42 U.S.C. § 1988.




                                        11
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.12 Filed 02/26/21 Page 12 of 17




  55. Further, Defendants’ egregious conduct was carried out purposefully,

     willfully, knowingly and/or with deliberate indifference to Plaintiff’s

     constitutional rights, entitling Plaintiff to an award of punitive damages.

  COUNT III – VIOLATION OF MICHIGAN ELLIOT-LARSEN CIVIL
                        RIGHTS ACT
                      Disparate Treatment – As to All Defendants
  56. Plaintiff realleges and incorporates by reference the foregoing paragraphs as

     if fully set forth herein.

  57. At all material times, Plaintiff was an employee, and Defendant MDOC was

     an employer, covered by and within the meaning of the Michigan Elliott-

     Larsen Civil Rights Act, MCL 37.2101, et seq.

  58. Plaintiff’s sex was at least one factor that made a difference in Defendants’

     treatment of Plaintiff.

  59. Defendants, through their agents, representatives, and employees, were

     predisposed to discriminate on the basis of sex and acted in accordance with

     that predisposition.

  60. Defendants, through their agents, representatives, and employees, treated

     Plaintiff differently from similarly situated employees in the terms and

     conditions of employment, based on unlawful consideration of her sex.

  61. Defendants’ actions were in intentional disregard for Plaintiff’s rights and

     sensibilities.

                                          12
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.13 Filed 02/26/21 Page 13 of 17




  62. As a direct and proximate result of Defendants’ unlawful actions, Plaintiff has

     sustained and continues to sustain injuries and damages.

    COUNT IV – VIOLATION OF MICHIGAN ELLIOT-LARSEN CIVIL
                         RIGHTS ACT
                            Retaliation – As to All Defendants

  63. Plaintiff realleges and incorporates by reference the foregoing paragraphs as

     if fully set forth herein.

  64. Defendants retaliated against Plaintiff for complaining about Defendants’

     discriminatory and/or illegal practices.

  65. Plaintiff complained numerous times regarding the practices and her

     treatment, and nothing was ever done to remedy the situation.

  66. Defendants’ actions were intentional, with indifference to Plaintiff’s rights

     and sensibilities.

  67. As a direct and proximate result of Defendants’ actions, Plaintiff has sustained

     and continues to sustain injuries and damages.

    COUNT V – VIOLATION OF MICHIGAN ELLIOT-LARSEN CIVIL
                         RIGHTS ACT
               Hostile Work Environment– As to All Defendants

  68. Plaintiff realleges and incorporates by reference the foregoing paragraphs as

     if fully set forth herein.

  69. Plaintiff was subject to unwelcome verbal or physical conduct due to her sex.

                                         13
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.14 Filed 02/26/21 Page 14 of 17




   70. The unwelcome conduct affected a term and/or condition of her employment

      and/or had the purpose or effect of unreasonably interfering with Plaintiff’s

      work performance and/or creating an intimidating, hostile, or offensive work

      environment.

   71. As a direct and proximate result of Defendants’ actions, Plaintiff has sustained

      and continues to sustain injuries and damages.

   WHEREFORE, Plaintiff requests that this court enter judgment against

Defendants in whatever amount he may be found to be entitled, together with

interest, costs, reasonable attorney fees, and such other relief as the court deems just

under the circumstances.



                                               Respectfully submitted,

                                               /s/ Hannah R. Fielstra
                                               Hannah R. Fielstra (P82101)
                                               Ernst Charara & Lovell, PLC
                                               Attorney for Plaintiff

Dated: February 26, 2021

                           CERTIFICATE OF SERVICE

      I hereby certify that on February 26, 2021 I presented the foregoing
      paper to the Clerk of the Court for filing and uploading to the ECF
      system which will send notification of such filing to the above listed
      attorneys of record and by certified mail to Defendants.



                                          14
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.15 Filed 02/26/21 Page 15 of 17




                             /s/ Deanna Denby
                               Deanna Denby




                                     15
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.16 Filed 02/26/21 Page 16 of 17




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN


KRISTY KLENKE,                                                Case No.
      Plaintiff,                                              Hon.
vs.
MARIO CUNNINGHAM, KATHY WARNER,
and GREG SKIPPER,
in their individual capacities,


Defendants.
__________________________________________________________________
Hannah R. Fielstra (P82101)
Kevin S. Ernst (P44543)
ERNST CHARARA & LOVELL, PLC
Attorneys for Plaintiff
645 Griswold, Ste. 4100
Detroit, MI 48226
(313) 965-5555 / (313) 965-5556
hannah@ecllawfirm.com
kevin@ecllawfirm.com
__________________________________________________________________
                              JURY DEMAND

      Plaintiff hereby requests a trial by jury in the above-captioned matter.

                                       Respectfully Submitted,


                                       /s/ Hannah R. Fielstra
                                       KEVIN S. ERNST (P44223)
                                       HANNAH R. FIELSTRA (P82101)
                                       ERNST CHARARA & LOVELL, PLC
                                       645 Griswold, Suite 4100
                                       Detroit, MI 48226
                                       (313) 965-5555 / (313) 965-5556

                                         16
Case 1:21-cv-00193-PLM-PJG ECF No. 1, PageID.17 Filed 02/26/21 Page 17 of 17




                                     kevin@ecllawfirm.com
                                     hannah@ecllawfirm.com

Dated: February 26, 2021



                        CERTIFICATE OF SERVICE

      I hereby certify that on February 26, 2021 I presented the foregoing
      paper to the Clerk of the Court for filing and uploading to the ECF
      system which will send notification of such filing to the above listed
      attorneys of record and by certified mail to Defendants.


                                /s/ Deanna Denby
                                  Deanna Denby




                                        17
